       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 1 of 44




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 TALLAHASSEE DIVISION

                                                     )
CITY WALK - URBAN MISSION INC.,                      )
RENEE MILLER, and ANTHONY MILLER,                    )
                                                     )    CASE NO.:
       Plaintiffs,                                   )
                                                     )
vs.                                                  )
                                                     )
CITY OF TALLAHASSEE,                                 )
                                                     )
       Defendant.                                    )
                                                     /


      COMPLAINT FOR DECLARATORY JUDGMENT, PERMANENT
                             INJUNCTION AND DAMAGES

       Plaintiffs bring this suit pursuant to 42 U.S.C. §1983, seeking declaratory, injunctive and

other relief against §§2-138, 9-155, and 10-417 of the Tallahassee Land Development Code, and

Article IX of the Bylaws of the Tallahassee-Leon County Planning Commission, together with

certain policies and practices of the City of Tallahassee. Plaintiffs seek a declaratory judgment

declaring such ordinances, policies and practices to be unconstitutional under the First and

Fourteenth Amendments to the United States Constitution. Plaintiffs further seek issuance of an

injunction against those unconstitutional ordinances, practices and policies. Plaintiffs also

demand damages against the Defendant for losses occasioned by the unconstitutional application

of the City’s laws and policies against the Plaintiffs.

                                         JURISDICTION

       1.      This suit is brought pursuant to 42 U.S.C. §1983:

       Every person who, under color of any statute, ordinance, regulation, custom, or
       usage, of any State or Territory or the District of Columbia, subjects, or causes to
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 2 of 44




        be subjected, any citizen of the United States or other person within the
        jurisdiction thereof to the deprivation of any rights, privileges, or immunities
        secured by the Constitution and laws, shall be liable to the party injured in an
        action at law, suit in equity, or other proper proceeding for redress...

        2.      This Court has “Federal Question” jurisdiction pursuant to 28 U.S.C. §1331 to

hear cases arising under the Constitution of the United States, under 28 U.S.C. §1343(3) to

redress the deprivation under color of state law of any right, privilege or immunity secured by

the Constitution, and under 28 U.S.C. §1343(4) to secure equitable or other relief for the

protection of civil rights.

        3.      The Court has the authority to issue declaratory judgments and permanent

injunctions pursuant to 28 U.S.C. §§2201 and 2202, and Rule 65, Fed.R.Civ.P.

        4.      The Court may enter an award of attorney’s fees pursuant to 42 U.S.C. §1988.

        5.      This Complaint seeks declaratory and injunctive relief to prevent violations of the

Plaintiffs’ rights, privileges and immunities under the Constitution of the United States and Title

42 U.S.C. §§1983 and 1988, specifically seeking redress for the deprivation under color of state

statute, ordinance, regulation, custom or usage of rights, privileges, and immunities secured by

the Constitution and laws of the United States. The rights sought to be protected in this cause of

action arise and are secured under the First and Fourteenth Amendments to the Constitution.

        6.      This action seeks a judicial determination of issues, rights and liabilities embodied

in an actual and present controversy between the parties involving the constitutionality of certain

ordinances policies and practices of the Defendant. There are substantial bona fide doubts,

disputes, and questions that must be resolved concerning the Defendant’ actions taken under

color and authority of “state” law and procedures, in violation of Plaintiffs’ rights under the First

and Fourteenth Amendments to the United States Constitution.




                                            Page 2 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 3 of 44




                                              VENUE

       7.      Venue is proper in the Northern District of Florida, Tallahassee Division, since

the laws and policies complained of are those of Tallahassee, Florida, which is within the district

and geographical area assigned to the Tallahassee Division.

                                            PARTIES

       8.      Plaintiff, CITY WALK - URBAN MISSION INC. (hereinafter referred to as

“CITY WALK”) is a Florida not-for-profit corporation which operates a church and religious

mission catering to the homeless population located at 1709 Mahan Drive, Tallahassee, Leon

County, Florida. The subject property is located within the municipal boundaries of the City of

Tallahassee. Plaintiff is the entity beneficially interested in the relief herein sought and seeks to

invoke the original jurisdiction of this Court on account of the facts and matters herein stated.

       9.      Plaintiff, RENEE MILLER, (hereinafter referred to as “RENEE”) is an

individual, sui juris, residing in Tallahassee, Florida. RENEE is the President and pastor of City

Walk. In addition to her duties as principal of City Walk, RENEE expresses her individual

religious beliefs through the City Walk mission. Plaintiff is beneficially interested in the relief

herein sought and seeks to invoke the original jurisdiction of this Court on account of the facts

and matters herein stated.

       10.     Plaintiff, ANTHONY MILLER (hereinafter referred to as “ANTHONY”), is an

individual, sui juris, residing in Tallahassee, Florida. ANTHONY is the Vice-President and a lay

pastor of City Walk. In addition to his duties as principal of City Walk, ANTHONY expresses

her individual religious beliefs through the City Walk mission. Plaintiff is beneficially interested

in the relief herein sought and seeks to invoke the original jurisdiction of this Court on account

of the facts and matters herein stated.



                                            Page 3 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 4 of 44




       11.     Defendant, CITY OF TALLAHASSEE, Florida (“CITY” or “TALLAHASSEE”),

is a Florida municipal corporation, organized and operating under the laws of the State of

Florida.

       12.     The Tallahassee-Leon County Planning Commission (“Planning Commission”), is

a government agency or body created by the CITY OF TALLAHASSEE. See, §2-111, LDC.

This Court has described that subordinate agency in the following terms:

       The Tallahassee–Leon County Planning Commission [“Planning Commission” or
       “Commission”] is an administrative agency of the city authorized to act in an
       advisory capacity to the City Commission.

Everett v. City of Tallahassee, 840 F.Supp. 1528, 1531 (N.D. Fla. 1992).

                                   COLOR OF STATE LAW

       13.     As a political subdivision of the State of Florida, organized and operating under

the laws of the State of Florida, TALLAHASSEE and the Planning Commission and their agents,

were, and are, acting under color of state law and authority.

                 PLAINTIFFS’ RELIGIOUS BELIEFS AND PRACTICES

       14.     CITY WALK operates a church and religious mission catering to the most

downtrodden and needy of our fellow citizens – the homeless.

       15.     RENEE has described this mission in the following terms:

       [O]ur mission is to connect people to God and to each other, to change lives
       forever. We do this by an Acts 2 church model, and we take very seriously the 73
       times that we are commanded in scripture to take care of the poor and needy and
       to take up the cause of justice for those who are also poor and needy.… [T]he
       majority of the parishioners at our congregation and church members are in some
       form of crisis or experiencing homelessness in one form or another.

       [W]e are a church, and our focus is that we believe God has called us to … the
       people who are in crisis, specifically as it pertains to housing and food and
       clothing, taking care of people who are marginalized and looked over in society.
       So a large part of our worship with our church is bringing the stranger in as Jesus
       commands us to do in Matthew 25.

                                           Page 4 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 5 of 44




       16.     CITY WALK provides food, shelter, and counseling for its residents.

       17.     CITY WALK administers to its residents’ religious needs through Bible studies

and Christian church services. However, CITY WALK does not impose a religious test on its

residents, and it welcomes all of God’s children.

       18.     The religious component of CITY WALK’s mission sets it apart from secular

providers of housing for the homeless. As RENEE has previously testified:

       [H]ow we differ based on the service, delivery of services, would be that we have
       a more holistic approach. We are not just concerned with getting somebody three
       hot meals and a cot so that they, you know, don’t die from exposure or something,
       but we really want to work on the whole person and their soul and the spirit at the
       same time.

       19.     The CITY WALK mission is located at 1709 Mahan Drive, a four lane divided

highway also designated as U.S. Highway 90.

       20.     The CITY WALK property is located in the OR-2 zoning district.

       21.     Plaintiffs selected the property after first scouring the community for an

appropriate site. It chose this particular site because it was an appropriate size and it was

conveniently located near public transportation - a requirement under the City’s Code.

       22.     The CITY WALK building provides residential accommodations for up to 64

residents.

       23.     The CITY WALK facility is designed to provide supportive housing, which

includes social services in a rules-based environment.

       24.     CITY WALK counseling services include both religious and secular counseling.

The secular counseling is provided by mental health professionals who provide services ranging

from anger management to vocational counseling to treatment for addiction and alcoholism.




                                           Page 5 of 44
          Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 6 of 44




          25.   CITY WALK’s homeless mission is considered to be a “Transitional Residential

Facility” pursuant to §1-2- Definitions, Tallahassee LDC,

          26.   Plaintiffs consider the operation of the Transitional Residential Facility to be a

religious practice and an integral part of their religious mission.


 PLAINTIFFS’ RELIGIOUS MISSION IS A FORM OF FREE SPEECH PROTECTED
                                BY THE FIRST AMENDMENT

          27.   Plaintiffs both practice and express their religious beliefs through operation of the

City Walk homeless mission.

          28.   The Free Exercise component of Plaintiffs’ claim is self-evident.

          29.   Plaintiffs’ religious beliefs and religious practices have a free speech component

which is distinguishable from and yet intimately tied to their religious faith.

          30.   Plaintiffs communicate a specific message which is understood by their audience.

That specific communication is Jesus’ message of salvation coupled with a reminder that we

must be charitable to our neighbors while on Earth.

          31.   The religious mission at City Walk is how Plaintiffs express and embody their

religious beliefs and religious speech; it is both the medium and the message.

          32.   Plaintiffs’ speech finds its expression in three complimentary forms:

          A.    Plaintiffs operate both a church and lay ministry which preaches primarily to the

homeless about the Christian faith and the message of Jesus Christ. This component of their

religious message and activities most resembles a conventional church:

                (1)    While Plaintiffs’ church is nondenominational and open to all who seek it

out, it is a Christian church with an expressly Christian message of faith and redemption through

Christ.


                                            Page 6 of 44
        Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 7 of 44




               (2)     Plaintiffs hold regularly scheduled church services led by RENEE, an

ordained Christian minister. Those services are open to all, but cater primarily to City Walk’s

homeless residents;

               (3)     Plaintiffs offer religious counseling both formal and informal. The

informal efforts are led primarily by ANTHONY, a lay disciple of Christ, who counsels through

words and the discipline of good works.

               (4)     Plaintiffs actively proselytize to lapsed Christians, non-believers and those

who follow other faiths so that they come to know the message of Jesus Christ. Plaintiff’s

believe that the transformation of homeless individuals into productive citizens is best

accomplished by reminding them of the hope and promise of the Christian faith.

        B.     The very act of running a Christian mission for the homeless is an essential

expression of Plaintiffs’ religious faith. Plaintiffs believe that Jesus Christ has called them to

minister to the “least fortunate among us” – a clarion call to provide for the spiritual and physical

needs of the unhoused. This expression has the following attributes:

        (1)    The operation of a homeless mission is intended as a living expression of two

aspects of Christ’s own mission:

               (a)     To spread good works and charity among men while the Earth exists; and

               (b)     To remind their neighbors that Christ promises a better existence in the

afterlife.

        (2)    This example of humility in daily life (expressed through the tough work of

caring for the less fortunate) reminds the public of the rich spiritual rewards which come from

such work - not the least of which is eternal salvation through Christ.




                                           Page 7 of 44
         Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 8 of 44




          (3)    Plaintiffs’ message of faith and redemption is best communicated through the

actual doing in front of others: spreading Christ’s message; the performance of good acts; the

example of charity in the community and the improvement in the spiritual and physical condition

of individual human beings. As St. Francis of Assisi might have said: “Preach the Gospel at all

times. Use words if necessary”.

          (4)    The operation of a Christian mission for the homeless - including the provision of

food and shelter - is utterly incapable of being severed from Plaintiffs’ religious faith; it is the

very means by which Plaintiffs’ express their faith. In this regard, Plaintiffs’ practices are like

that of many other sects and faiths. By way of example, Plaintiffs note the following:

                 (a)    Jehovah’s Witnesses are especially noted for their door-to-door

proselyting, which they maintain is rooted in Biblical commands. 1

                 (b)    Youthful members of the Church of Jesus Christ of Latter-Day Saints

(“Mormons”) youth are encouraged to devote 18-24 months of their lives to missionary work in

the field. 2




1
    See, JW.ORG/ Official Website of Jehovah’s Witnesses:

          We try to contact people at their homes. Jesus trained his disciples to preach the
          good news from house to house. (Matthew 10:11-13; Acts 5:42; 20:20) …
          Similarly today, our preaching work is well-organized, and each congregation is
          given an assigned area to cover. This enables us to fulfill Jesus’ command to
          “preach to the people and to give a thorough witness.”—Acts 10:42.

https://www.jw.org/en/library/books/jehovahs-will/jehovahs-witnesses-preaching-work/           (last
accessed 2/2/22).
2
    See, Churchofjesuschrist.org/:

          Most missionaries are between 18 and 25 years of age. … [T]heir missions last
          from 18 months to two years…


                                            Page 8 of 44
         Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 9 of 44




                (c)     Hare Krishnas are distinguished by their missions providing free

vegetarian food – frequently on college campuses 3 – and the practice of “sankirtan” (seeking

alms in public places). 4

         C.     The operation of the homeless mission serves as a physical symbol of Christ’s

message of good will on Earth. That symbol is as expressive and evocative as any words

Plaintiffs may speak. Plaintiffs note the following aspects of this symbolic speech:

                (1)     Unlike Bible readings or religious advocacy, the operation of a Christian

mission for the homeless must occur at a particular place; the mission is ultimately rooted in

geography as it is the embodiment of God’s Word on the physical Earth.




         Going around talking about God isn’t new. It’s what Jesus Christ did when He
         was alive. After His death and Resurrection, it’s what He instructed His disciples
         to do. That goes for our day too. So while the names of the missionaries vary on
         those black name tags, the most important name - Jesus Christ - is always there,
         included in the name of our Church. It is, and always has been, His message the
         missionaries share.

https://www.churchofjesuschrist.org/comeuntochrist/belong/share-goodness/10-things-to-know-
about-missionaries (last accessed 2/1/22).
3
   See, e.g., https://www.facebook.com/KrishnaLunchFSU/ and, for Gator fans, https://
krishnalunch.com/about/ (“KRISHNA LUNCH VALUES: Service - Provide UF students and the
Gainesville community with wholesome service opportunities to complement their spiritual
growth.”) (last accessed 2/1/22).
4
    See, e.g., United States v. Silberman, 464 F.Supp. 866, 870 (M.D. Fla. 1979).

         A basic tenet of ISKCON is an obligatory, evangelical religious ritual known as
         ‘sankirtan’. Followers, or devotees, are required to approach people in public
         places, distributing religious literature and small tokens or gifts, disseminating
         information, and soliciting donations. Sankirtan has three purposes: (1) to spread
         the religious information which the Hare Krishna religion deems to be the truth;
         (2) to proselytize and attract new members; and (3) to generate funds to support
         the religious activities of the movement. Sankirtan activity propels ISKCON's
         followers into city streets, tourist areas, airports, state fairs, rest stops along
         expressways, and urban convention centers.

                                            Page 9 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 10 of 44




               (2)     The spiritual redemption of individual homeless persons and their

transformation, through faith, into productive members of society is a living example of the

power of Christ’s message.

               (3)     For Plaintiffs’ message to be understood this symbol must be viewed; it

must have some physical embodiment within the City of Tallahassee. Here, Plaintiffs’ audience

includes their congregation as well as the broader Tallahassee community; their message is

clearly perceived and understood to be the Gospel of Jesus Christ.

           OVERVIEW OF APPLICABLE ORDINANCES AND PROCEDURES

       33.     Homeless missions providing residential facilities are defined by §1-2 of the

Tallahassee LDC:

       Transitional residential facilities. The term “transitional residential facilities”
       means facilities or structures, operated, or maintained by a public or not-for-profit
       corporation or association, religious institution, or government-funded
       organization to provide shelter for homeless individuals and families on a
       temporary or transitional basis, with the duration of stay limited to a period not
       exceeding one year. Normal and customary use of a dwelling unit by a single-
       family is specifically excluded from the requirements of chapter 10. Transitional
       residential facilities may also provide services to residents accessory to the
       provision of shelter, including but not limited to, dining facilities and meal
       preparation, and referral, counseling and educational programs.

       34.     A transitional residential facility can be wholly secular with no religious

component at all. However, religious persons and institutions wishing to provide residential

services for the homeless cannot avoid being classified as a transitional residential facility.

       35.     Transitional Residential Facilities are regulated by §10-417 of the Tallahassee

Land Development Code. A copy of §10-417 is attached as Exhibit “1” to this Complaint.

       36.     Pursuant to §10-417(b), a Transitional Residential Facility may be located in any

zoning district in the City with the exception of the industrial zone:

       Sec. 10-417. Transition residential facilities.

                                           Page 10 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 11 of 44




       …
       (b)      Where allowed. Transitional residential facilities may be allowed in any
       zoning district, with the exception of the industrial district, subject to the
       limitations and in accordance with the procedures and minimum criteria set forth
       in this section.

       37.     However, there is no location within the City of Tallahassee where a transitional

residential facility can open as a matter of right.

       38.     Section 10-417 establishes a form of discretionary or conditional zoning akin to a

special exception or a conditional use permit.

       39.     Pursuant to §10-417(c), LDC, any person or entity wishing to open and operate a

transitional residential facility must first seek permission from the City in the form of “Type B

Site Plan” approval:

       Sec. 10-417. Transition residential facilities.
       …
       (c)    Approval procedure. New transitional residential facilities and expansions
       to existing transitional residential facilities are subject to type B site plan
       approval.

       40.     Pursuant to §10-417(d), LDC, an application for Type B Site Plan approval must

include the following general and specific information:

       (d)    General information required. Any applicant requesting transitional
       residential facility approval must submit the following general information for
       review in order for the application to be considered complete:

               (1)     Statement describing the purpose of the facility;

               (2)     Statement justifying the need for the facility;

                (3)    Statement supporting the proposed location as appropriate for the
       facility;

               (4)     Statement of ownership and management of the proposed
       transitional residential facility;

              (5)      Legal description and boundary survey signed and sealed by
       surveyor;

                                            Page 11 of 44
Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 12 of 44




       (6)     Statement of traffic impact;

        (7)    General location map showing the relation of the proposed site to
existing and proposed features and land uses: major streets, existing utilities and
public features, and the land uses of the surrounding area;

       (8)      Statement of the size and capacity of the proposed transitional
residential facility;

        (9)     Statement describing in detail, the character and intended use of
the transitional residential facility; and

        (10) The following additional information shall be included for
transient residential facility sites which will require new construction:

       a.      Statement describing the type and availability of utilities and
       public facilities to be used; and

       b.     Tabulation of the gross acreage of the site and the area to be
       devoted to impervious surfaces such as structures and parking lots.

(e)    Specific information required. Any applicant requesting a transitional
residential facility approval must submit the following specific information for
review in order for the application to be complete.

        (1)    A security plan addressing the needs of the facility’s residents as
well as those of the surrounding community, including a statement describing the
special supervision to be provided to residents;

       (2)     A description of all activities and uses to be conducted on the site;

       (3)     A description of any needs which may be required by residents of
the transitional residential facility which will not be available on site, and a
statement indicating how these needs will be met offsite;

       (4)     A plan indicating:

       a.      The size, location, height, and setbacks of all existing and
       proposed buildings and other structures, including a description of the
       specific use of all buildings and structures;

       b.      Any natural conditions which may affect the use of the site;

       c.      Off-street parking;



                                     Page 12 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 13 of 44




               d.      Driveway and access limitation controls;

               e.    Location and size of open spaces and landscaped areas or buffering
               elements;

               f.     The general architectural themes, appearance, and representative
               building types; and

               g.     A schedule of any and all renovations or other activities proposed
               to improve the appearance of any existing structures and grounds.

       41.     Section 10-417 also lists the criteria which TALLAHASSEE is supposed to apply

in evaluating an application for Type B Site Plan approval. Pursuant to §10-417(f), LDC, the

following criteria are evaluated:

       (f)      Minimum criteria for the issuance of site plan approval. The development
       review committee shall determine whether a transitional residential facility
       approval shall be granted based on the finding that the following minimum
       criteria have been satisfied:

              (1)    The operation and location of the facility as proposed is consistent
       with the comprehensive plan and applicable land development regulations;

              (2)    The facility would not create or cause a private nuisance, including
       but not limited to noise, odor, health hazard, glare and unlawful activities, to
       adjacent properties;

              (3)     The facility will implement adequate security and supervision
       measures to address the needs of the facility’s residents as well as residents of
       adjacent lands and their property;

               (4)     The facility is served by or easily accessible to mass transit;

             (5)    The facility will be of adequate size and design to reasonably
       accommodate its projected capacity;

              (6)    The facility and its features are designed to be compatible with the
       general architecture theme, appearance and representative building types of
       adjacent properties and uses; and

               (7)     The intensity of use of the proposed facility does not unreasonably
       adversely impact upon existing uses or change the character of the area in which it
       is located. Intensity of the use of the proposed facility shall be determined based
       upon its size, the number and type of accessory services to be provided, either by

                                           Page 13 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 14 of 44




       itself or in conjunction with other group homes, community residential homes,
       and transitional residential facilities located within a 2,400-foot distance of the
       site boundaries. Adverse impacts shall be evaluated particularly with respect to
       existing residential uses and districts within 500 feet of the site.

       42.    The procedures for administrative review of Type B Site Plan applications are set

forth in §9-155 of the Tallahassee LDC. A copy of §9-155, LDC is attached as Exhibit “2” to this

Complaint.

       43.    The administrative procedures specify that the application will be considered at a

public hearing before the City’s Development Review Committee (“DRC”). Withing five days of

the hearing, the chair of the DRC is instructed to issue a “preliminary decision” which includes

“an itemized list of findings of fact which support approval, approval with conditions, or denial

of the application”. See, §9-155(10)(j), LDC.

       44.    In the event that the DRC imposes conditions on the site plan, the applicant is

provided an additional 90 days to submit its revisions. The DRC will then issue an approval of

the revised plan, but not until “written authorization from each development review committee

member of his/her designee has been provided to indicate that the site plan meets the conditions

of approval required by the development review committee.” See, §9-155(10)(k), LDC.

       45.    The preliminary decision of the DRC becomes final unless an interested party

files an administrative appeal seeking a “quasi-judicial proceeding” as provided in §9-15510(l),

LDC.

       46.    If an applicant requests a quasi-judicial proceeding to challenge the DRC

preliminary decision, those proceedings are governed by “chapter 2, article III, division 2,

subdivision II, of this Code and the bylaws of the planning commission.” See, §9-155(10)(l),

LDC.




                                         Page 14 of 44
        Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 15 of 44




         47.    The applicable provisions of the Land Development Code which coincide with

“chapter 2, article III, division 2, subdivision II” are §§2-131 through 2-139. The core provisions

governing the quasi-judicial hearing appear at §2-138 of the Tallahassee LDC. A copy of

Subdivision II. - Quasi-Judicial Proceedings, §§2-131 through 2-139, LDC is attached as Exhibit

“3” to this Complaint.

         48.    In summary, administrative review is conducted as follows:

         A.     An Administrative Law Judge (“ALJ”) assigned by the Florida Division of

Administrative Hearings (under contract with TALLAHASSEE) 5 conducts a public evidentiary

hearing. See, §2-138(i), LDC. The hearing is a de novo proceeding. 6

         B.     At the conclusion of the evidentiary hearing, the parties submit proposed

recommended orders. See, §2-138(j), LDC.

         C.     The ALJ subsequently issues his proposed recommended order which “shall

approve or deny, in whole or in part, the request of the petitioner; and shall include findings of

fact and conclusions of law, separately stated within the recommended order.” See, §2-138(j),

LDC.

         D.     The parties are then permitted to file exceptions to the recommended order with

the clerk of the Planning Commission. See, §2-138(k), LDC.

         E.     The matter is referred to the Planning Commission which conducts a public

hearing, but takes no new evidence. See, §§2-138(m), (n), LDC.

         F.     The proceedings before the Planning Commission are governed by §2-138 of the

City’s Land Development Code as well as By-Laws enacted by the Planning Commission. The


5
    See, §2-138(d), LDC.
6
    See, §2-135(a), LDC.

                                          Page 15 of 44
        Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 16 of 44




relevant portion of the By-Laws relative to administrative proceedings governing approval of

Type B Site Plans for Transitional Residential Facilities are found in Article IX. A copy of

Article IX of the Bylaws of The Tallahassee-Leon County Planning Commission (“the By-

Laws”) is attached as Exhibit “4” to this Complaint.

        G.     At the conclusion of the hearing, the Planning Commission is directed to “adopt

the recommended order, adopt the recommended order with changes, or direct staff to prepare a

revised order.” The Planning Commission also has the option of remanding the case to the ALJ

for further factual findings. See, §§2-138(m), (n), LDC.

        H.     A disappointed applicant can seek review of the Planning Commission’s order

through a certiorari proceeding in state circuit court. See, §§2-138(o), LDC.

                        DENIAL OF CITY WALK’S APPLICATION

        49.    Plaintiffs present largely facial constitutional challenges to the CITY’s Land

Development Code and to the Planning Commission’s By-Laws. As such the individual facts of

this case are irrelevant except to show standing to raise those claims. See, e.g., Miami Herald

Pub. Co. v. City of Hallandale, 734 F.2d 666, 674 (11th Cir. 1984).

        50.    CITY WALK first provided services to the homeless on an emergency basis, at

the CITY’s specific request, in order to ameliorate the shortage of beds during “cold nights” in

2020.

        51.    CITY WALK opened its doors to the homeless at the end of November, 2020.

        52.    CITY WALK began its religious ministry to the homeless, including the speech

activities addressed above, as soon as it opened its doors.

        53.    On April 1, 2021, the CITY held a hearing before its code enforcement magistrate

to fine CITY WALK for operating its homeless mission without first having secured approval of



                                           Page 16 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 17 of 44




a Type B Site Plan. Those proceedings concluded with the entry of a fine against CITY WALK. 7

       54.     CITY WALK submitted its application for Type B Site Plan approval on or about

February 8, 2021.

       48.     The Development Review Committee entered its preliminary denial of CITY

WALK’s application on March 9, 2021.

       49.     Contrary to the CITY’S own Code, the DRC Order did not contain any findings

of fact. Instead, it merely stated that “the application did not meet all of the criteria required by

Section 10-417, as well as other pertinent sections, of the Tallahassee Land Development

Code…”.

       55.     CITY WALK took a timely appeal of the DRC preliminary denial. 8

       56.     Plaintiffs RENEE MILLER and ANTHONY MILLER testified at the evidentiary

hearing as principals of CITY WALK, as fact witnesses and to speak of their own personal faith

and involvement in the mission.

       57.     After a two-day evidentiary hearing, the ALJ entered a Recommended Order on

November 19, 2021 concluding the CITY WALK met all of the Code criteria and that it was

entitled to approval of its Type B Site Plan.

       58.     The ALJ included certain conditions on the approval of City Walk’s site plan

(including occupancy limits, security arrangements and temporal restrictions) which he found


7
  CITY WALK appealed the code enforcement orders which were upheld by the state Circuit
Court on November 4, 2021. Accordingly, those state enforcement proceedings have been fully
concluded. CITY WALK filed an “England Reservation of Rights” in the Circuit Court
proceedings on May 24, 2021, notifying the CITY of its intention to litigate its constitutional
claims in Federal Court. See, generally, Fields v. Sarasota Manatee Airport Auth., 953 F.2d
1299, 1305 (11th Cir. 1992).
8
 CITY WALK filed an “England Reservation of Rights” in the proceedings before the ALJ on
May 24, 2021 reserving its Federal claims for adjudication in this Court.

                                           Page 17 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 18 of 44




would allow for the effective operation of a Transitional Residential Facility in harmony with the

neighborhood.

       59.      A public hearing was held before the Planning Commission on January 12, 2022.

       60.      On a vote of 3-2, the Planning Commission rejected the ALJ’s Order. The

Planning Commission did not suggest alternative criteria or additional criteria which would

allow for the operation of City Walk’s mission – it simply rejected the site plan outright.

       61.      The Planning Commission entered its Final Order on January 27, 2022.

       62.      The Planning Commission Final Order represents the conclusion of all

administrative remedies available to the Plaintiffs.

                       SUMMARY OF CONSTITUTIONAL CLAIMS

       63.      Defendant imposes an unconstitutional restraint on the exercise of Plaintiffs’

religious beliefs and practices in violation of the Free Exercise Clause of the First Amendment.

       64.      Defendant imposes an unconstitutional prior restraint on speech because there are

no locations anywhere in the City of Tallahassee where a religious homeless mission can operate

as a matter of right. FW/PBS, Inc. v. City of Dallas, 493 U.S. 215 (1990) and Lady J. Lingerie,

Inc. v. City of Jacksonville, 176 F.3d 1358 (11th Cir. 1999) control this inquiry.

       65.      Pursuant to §10-417, a person wishing to open and operate a religious mission

providing care and residential services to the City’s homeless must first obtain permission from

the CITY.

       66.      The criteria set forth in §10-417 for the evaluation of Type B Site Plan

applications are vague, subjective and confer unfettered discretion on governmental

decisionmakers in violation of the First Amendment.




                                           Page 18 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 19 of 44




       67.     The criteria set forth in §10-417 for the evaluation of a Type B Site Plan

application are so vague that they allow for arbitrary and discriminatory enforcement in violation

of the Due Process Clause.

       68.     The procedures for evaluating a Type B Site Plan application are principally set

forth in §2-138(i), LDC and Article IX of the Planning Commission’s By Laws.

       69.     Those procedures are constitutionally defective for the following reasons:

       A.      They do not guarantee a decision within a specified brief period of time; in many

cases there are no specified times at all and, in other cases, the time periods are illusory because

the applicant is not allowed to speak if a decision is not forthcoming.

       B.      The delays built into the administrative process necessarily mean that a decision

cannot be reached within a reasonable period of time.

       C.      In the case of CITY WALK, the procedures do not preserve the status quo.

       D.      The administrative process is so cumbersome that it interferes with prompt

judicial review and prompt judicial disposition. See, generally, City of Littleton, Colorado

v. Z.J. Gifts, D–4., L.L.C., 541 U.S. 774 (2004).

       70.     The CITY’s criteria for evaluating Type B Site Plan approvals is not narrowly

tailored in the context of religious missions. There are readily available alternatives available

both in terms of site location and in terms of substantive criteria which would preserve the

government’s interests without burdening speech as severely as the current regulations do.

       71.     The CITY fails to provide sufficient sites to allow religious missions providing

transitional residential services to open and operate. Plaintiffs allege the following particulars:




                                           Page 19 of 44
         Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 20 of 44




          A.     The Tallahassee Code sets up an impossible Catch-22 for religious missions:

transitional residential facilities must not be located too close to residences 9 but they also must

be cited near public transportation such as bus stops 10 which are invariably located near

residential areas.

          B.     The criteria used to deny CITY WALK’s application – namely a change in the

character of the neighborhood – applies to any other location where CITY WALK may apply for

permission to operate; there are no conforming locations in the City which would not experience

a change in character of the community.

          C.     Transitional residential facilities are barred from industrial districts which are

effectively the only zones (other than rural agriculture lacking in infrastructure) where

transitional residential facilities can be screened or segregated from commercial and residential

neighbors.

                   ALLEGATIONS IN SUPPORT OF INJUNCTIVE RELIEF

          72.    The Plaintiffs’ speech rights have been infringed as Defendant has actively

enforced its Ordinances against them by fining CITY WALK and by withholding permission for

their religious mission.

          73.    Plaintiffs’ speech rights have been chilled now, and in the future, because they

risk further fines, enforcement actions and even imprisonment if they persist in their speech and




9
  Section 10-417(f)(7) provides that special care must be taken so as not to impact local
residential uses:

          Adverse impacts shall be evaluated particularly with respect to existing residential
          uses and districts within 500 feet of the site.
10
     See, §10-417(f)(4) (“The facility is served by or easily accessible to mass transit…”).

                                             Page 20 of 44
         Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 21 of 44




religious activities. 11

          74.    On January 14, 2022, the City’s Attorney issued a press release threatening to

bring legal action against CITY WALK in order to shut down its operations and censor its

speech. The City’s Attorney stated:

          The City of Tallahassee is taking steps to initiate appropriate enforcement action
          concerning the continued operation of an unpermitted homeless shelter by City
          Walk – Urban Mission on Mahan Drive.
          …
          If the violations are not immediately abated, the City will commence enforcement
          action concerning the Building Code violations and evaluate all potential legal
          action to remedy the violations.

Tallahassee Reports, City of Tallahassee “Taking Steps” to Initiate Enforcement Against City

Walk, (Jan. 14, 2022), https://tallahasseereports.com/2022/01/14/city-of-tallahassee-taking-steps-

to-initiate-enforcement-against-city-walk/ (last accessed 2/3/22).

          75.    Unless the Ordinances, policies and practices of Defendant are enjoined by this

Court, the Plaintiffs will suffer the continuing loss of their constitutional rights.

          76.    Plaintiffs have suffered irreparable injury and continue to suffer irreparable injury

as a result of the Defendant’ Ordinances, policies and practices.

          77.    None of the Plaintiffs has a plain, adequate or complete remedy to protect their

constitutional rights and to redress the wrongs and illegal acts complained of, other than




11
     Section 1-7 of the Land Development Code provides for incarceration as a potential penalty:

          (c)     Except as otherwise provided by law or ordinance, a person convicted of a
          violation of this Code shall be punished by a fine of not more than $500.00,
          imprisonment for a term not exceeding 60 days, or any combination thereof. If a
          violation of this Code is also a violation of state law, the violation shall be
          punished in the same manner and within the same limits as are prescribed for such
          violation of state law.



                                            Page 21 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 22 of 44




immediate and continuing injunctive relief.

       78.     Plaintiffs have no adequate remedy at law. Deprivation of rights guaranteed under

the Constitution is an irreparable injury for purposes of injunctive relief. In cases involving the

loss of First Amendment rights, such as in this case, damages are both inadequate and

unascertainable.

       79.     The public interest would be served by the granting of injunctive relief. In fact,

the public interest is disserved by actions, such as those of Defendant, which interfere with the

public’s rights guaranteed under the First Amendment.

       80.     A permanent injunction will preserve Plaintiffs’ civil rights and will minimize the

need to award extensive compensatory damages.

                            DAMAGES AND ATTORNEY’S FEES

       81.     Because of the Defendant’ actions, Plaintiffs’ First Fourteenth Amendment rights

have been violated and Plaintiffs are faced with similar and repeated violations of their rights in

the future if they do not abandon their speech and religious activities.

       82.     CITY WALK has suffered economic losses as a result of the enforcement of the

Defendant’ ordinances, policies and practices against it. Those damages include:

       A.      The imposition of code enforcement fines.

       B.      Reduction in donations as a result of potential donors worrying about the closure

of the City Walk mission or the possible loss of tax exempt status for the mission.

       C.      Opportunity costs in the form of increased interest and cost of materials due to

their inability to renovate the facilities (CITY WALK cannot obtain the necessary building

permits without approval of its Type B Site Plan application).




                                           Page 22 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 23 of 44




         83.   Plaintiffs have retained Benjamin, Aaronson, Edinger & Patanzo, P.A. and

Dudley, Sellers, Healy & Heath, PLLC as their attorneys to represent them in this action and

have agreed to pay them a reasonable fee, which fee Defendant must pay pursuant to 42 U.S.C.

§1988.


                                             COUNT I
          THE DEFENDANT’S ORDINANCES AND PROCEDURES IMPOSE AN
                UNCONSTITUTIONAL PRIOR RESTRAINT ON SPEECH

         84.   Plaintiffs reallege the facts set forth in Paragraphs 1 through 83 and incorporate

those facts into this Count by reference.

         85.   This is an action for declaratory relief and injunctive relief brought by each of the

Plaintiffs against Defendant CITY OF TALLAHASSEE under this Court’s general jurisdiction

and pursuant to 28 U.S.C. §2201 and 42 U.S.C. §1983.

         86.   Plaintiffs are uncertain as to their rights and remedies under the Tallahassee Land

Development Code and the By-Laws as they have been applied to Plaintiffs in violation of the

Free Speech Clause of the First Amendment to the United States Constitution.

         87.   Section 10-417 of the Tallahassee Land Development Code imposes a prior

restraint because Plaintiffs cannot engage in their religious speech (i.e. the operation of a

residential mission for the homeless with the associated expressive and speech components

described above) without first obtaining the CITY’s permission in the form of Type B Site Plan

approval.

         88.   The restraint imposed by §10-417, and the associated procedures for

administrative review, is unconstitutional on its face because the ordinances fail to include all of

the substantive and procedural safeguards required by FW/PBS, Inc. v. City of Dallas, 493 U.S.



                                            Page 23 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 24 of 44




215, 110 S.Ct. 596 (1990) and Lady J. Lingerie, Inc. v. City of Jacksonville, 176 F.3d 1358 (11th

Cir. 1999)

       89.       The criteria for evaluating Type B Site Plan applications set forth in §10-417(f),

LDC are utterly standardless and afford the DRC and Planning Commission, total, unbridled

discretion in violation of the First Amendment. Plaintiffs allege the following particulars:

       A.        The LDCs confer upon the planning director the discretion to determine in the

first instance whether an application “contains all required information at the required level of

detail” (emphasis added). See, §9-155(10)(c).

       B.        Even after a determination of completeness by the DRC director, other members

of the DRC can suspend review of the application indefinitely by demanding additional

unspecified and indeterminate information from the applicant:

       j.     Development review committee review. The development review
       committee shall … request additional material and data determined to be
       necessary to undertake the required review and continue its review to a date and
       time certain.

§9-155(10)(j).

       C.        Growth management staff can halt the processing of any application upon a

determination that the property has not been “properly posted”:

       e.        The property that is the subject of the application shall be prominently posted by
                 the applicant pursuant to the policies and procedures of the growth management
                 department. An application shall not be determined complete until the department
                 has verified that the property is properly posted.

See, §9-155(10)(e). The LDCs do not themselves establish any standard for posting and the

Growth Management Department’s criteria employ vague language: “prominently displayed”,

“clearly visible’ and “centrally located”. See, Sign Posting Affidavit., https://www.talgov.com/

Uploads/Public/Documents/growth/forms/sign_posting_affidavit.pdf (last accessed 2/2/22).



                                           Page 24 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 25 of 44




       D.      The criteria for evaluating a license are completely open-ended and almost

entirely subjective in nature. Section 10-417(f) includes imprecise criteria, both collectively and

in every subpart, including the following:

               (1)     Section 10-417(f)(1): “consistent with the comprehensive plan”;

               (2)     Section 10-417(f)(2): “adequate” security;

               (3)     Section 10-417(f)(3): a general prohibition against “unlawful activities”;

               (4)     Section 10-417(f)(4): “easily accessible” to transit;

               (5)     Section 10-417(f)(5): the facility must be of “adequate size”;

               (6)     Section 10-417(f)(6): “compatible with the general architecture theme,

appearance and representative building types of adjacent properties and uses”;

               (7)     Section 10-417(f)(7): the TRF must not “unreasonably adversely impact

upon existing uses or change the character of the area”.

       E.      The criteria are not exclusive; the DRC and the Planning Commission can attach

additional unspecified “conditions” to their approval with no substantive limits whatsoever on

those conditions:

               (1)     In the first instance, the DRC can attach whatever conditions to the site

plan it may choose in its unfettered discretion:

       j.     Development review committee review. The development review
       committee shall review the plans at their next regularly scheduled meeting,
       prepare and submit to the chair a preliminary decision with an itemized list of
       findings of fact which support approval, approval with conditions, or denial of the
       application; (emphasis added).

§9-155(10)(j), LDC.

               (2)     The DRC has the unfettered discretion to determine whether revisions to

an application to meet any “conditions” are satisfactory to its individual members:



                                             Page 25 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 26 of 44




       k.     Site plan revisions. The director shall not sign the site plan until written
       authorization from each development review committee member of his/her
       designee has been provided to indicate that the site plan meets the conditions of
       approval required by the development review committee.

§9-155(10)(k), LDC.

               (3)     The DRC can require that the applicant sign a development agreement

with the School Board as a condition for approval, thereby creating a third party heckler’s veto

over any development:

       If a school proportionate fair-share mitigation development agreement is required
       as a condition of approval, the growth management director shall not sign the
       revised site plan submittal until the development agreement has been executed by
       all parties.

§9-155(10)(k), LDC.

               (4)     At the conclusion of any administrative appeal from the DRC’s

preliminary decision, the Planning Commission can reject the ALJ’s recommended order and

attach whatever conditions it deems appropriate in its unfettered discretion:

       (n)   The planning commission shall adopt the recommended order, adopt the
       recommended order with changes, or direct staff to prepare a revised order.
       (emphasis added).
§2-138(n), LDC.
               (5)     The same unconstrained discretion to revise the ALJ order is afforded to

the Planning Commission in its own By-Laws:

       (g) Action on the Recommended Order. The Planning Commission shall adopt the
       recommended order, adopt the recommended order with changes, or direct staff
       to
       prepare a revised order. (emphasis added).

Art. IX, §10(g), By-Laws.

       90.     The CITY’s Land Development Code and the By-Laws fail to guarantee that a

decision on a Type B Site Plan application will be made within a specified brief period of time


                                          Page 26 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 27 of 44




(or any period of time at all). The procedural defects occur at every level of the ordinances and

By-Laws with multiple administrative cul-de-sacs and a series of illusory time standards. In

addition, the ordinances and By-Laws fail to guarantee that speech will be permitted if the

decision is not rendered within the nominal times identified in the procedures. Plaintiffs allege

the following particulars:

        A.      Certain steps in the application process do not have a fixed deadline in terms of

days, but are indeterminate, with the opportunity for continuances which are also not constrained

by deadlines. Those steps and the associated code provision are as follows:

                (1)     According to policies published and promulgated by the City of

Tallahassee Growth Management Department, the CITY will not even accept an application for

Type B Site Plan approval until the applicant obtains a “Land Use Compliance Certificate”.

        Prior to submitting a Type B Site Plan, you must apply for and receive a Land
        Use Compliance Certificate….

Application Submittal and Review Information - Land Use | Site Plan/Subdivision - Type B Site

Plan Review, https://www.talgov.com/growth/growth-apps-landuse.aspx (last accessed 2/2/22).

There are no provisions in the LDCs or in the Growth Management policies which guaranty that

a “Land Use Compliance Certificate” will be issued within any specified period – or ever.

                (2)     The same lack of time periods applies to the requirement that an applicant

obtain a Natural Features Inventory from the CITY – something which City staff can withhold

indefinitely in their discretion:

        … Also, a Natural Features Inventory (NFI), required by Chapter 5 of the City of
        Tallahassee Land Development Code, must be applied for, unless otherwise
        exempted by the Growth Management Department. The NFI must be approved or
        conditionally approved prior to the acceptance of the site plan application.




                                           Page 27 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 28 of 44




Type B Site Plan Review, https://www.talgov.com/growth/growth-apps-landuse.aspx (last

accessed 2/2/22).

               (3)       Review by the DRC does not occur within a specified period of time.

Instead, the review takes place “at their next regularly scheduled meeting” – whenever that may

occur. However, even that flexible time standard is contingent and subject to continuance as

provided by the CITY’s ordinances and policies:

                         (a)   Placement on the “next regularly scheduled meeting” is conditional

as the application must be filed at least 30 days before the next meeting. See, Type B Site Plan

Review, https://www.talgov.com/growth/growth-apps-landuse.aspx (last accessed 2/2/22) (“The

deadline for filing an application with the DRC is generally 30 days prior to the meeting.”).

                         (b)   The DRC is not required to approve or deny the application at its

hearing, but can extend the process indefinitely by requesting “additional material and data

determined to be necessary to undertake the required review”. See, §9-155(10)(j).

                         (c)   In the event that additional information is demanded, the DRC can

continue the hearing indefinitely with the only requirement being that they fix “a date and time

certain” – which could be year later. See, §9-155(10)(j).

                         (d)   In the event that the DRC requires revisions to the Type B Site

Plan application [as permitted by §9-155(10)(j)], approval of the DRC can be delayed

indefinitely as the director is not permitted to sign the preliminary decision until the member of

the DRC verify compliance with the new conditions; there is no requirement that they do so

within any fixed time:

       The director shall not sign the site plan until written authorization from each
       development review committee member of his/her designee has been provided to
       indicate that the site plan meets the conditions of approval required by the
       development review committee.

                                          Page 28 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 29 of 44




§9-155(10)(j), LDC.

               (4)     In all cases where a “school proportionate fair-share mitigation

development agreement”, the DRC will not render a decision until the applicant signs an

agreement with the School Board, a third party. The School Board is not required to tender its

signature within any specified period of time and that delay can lead to the automatic termination

of the application: “Failure by the applicant to submit a revised site plan within the time frames

specified in this subsection shall deem the site plan null and void.” See, §9-155(10)(k), LDC.

               (5)     In the event of a preliminary denial of a Type B Site Plan application by

the DRC, the Code does not provide a specific period of time within which the ALJ must

conduct the public hearing. While the public hearing must nominally commence within 60 days

[§2-138(i)(1), LDC] , the ALJ can continue the hearing as often and for as long as he or she

chooses:

       (10) The administrative law judge may order the hearing continued until a date
       certain if necessary to obtain additional information necessary for determination
       of the matters at issue.

§2-138(j)(10), LDC.

               (6)     The LDCs do not include a specified time within which the Planning

Commission must conduct a hearing on the ALJ’s recommended order; the code merely instructs

the clerk to schedule a hearing:

       (l)     Upon receipt of the recommended order from the administrative law
       judge, and after the deadline for receipt of exceptions thereto, the clerk of the
       planning commission shall schedule the recommended order for consideration by
       the planning commission.

§2-138(l), LDC.




                                          Page 29 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 30 of 44




               (7)     The By-Laws do not establish a fixed deadline for conducting the

Planning Commission’s review of the ALJ’s recommended order. Instead, the By-Laws simply

state that the hearing will take place “at the next available regularly scheduled Planning

Commission Meeting”. That standard is both indefinite and illusory for the following reasons:

                       (a)    The By-Laws do not actually require that the hearing be scheduled

at the next scheduled meeting of the Planning Commission. Rather, the language is qualified by

the adjective “available”, leaving the actual determination of availability to the discretion of the

clerk or the Planning Commission. See, Art. IX, §10(e), By-Laws.

                       (b)    The By-Laws allow the CITY to move to continue the proceedings

for an indefinite period of time with the decision left to the sole discretion of the Planning

Commission. See, Art. IX, §9(1), By-Laws.

                       (c)    There are no consequences if the Planning Commission fails to

schedule the hearing at its next available meeting – or at any time.

               (8)     The Planning Commission is not actually required to render its decision

within any specified period of time. Both the LDCs and the By-Laws include identical provisions

stating that the Planning Commission will consider the recommended order at a public hearing,

there is no requirement that they actually render a decision at the meeting or at any other time:

       (m)     During its consideration of the recommended order at a duly notified
       public hearing, the planning commission will take comment from any parties who
       desire to submit comments in favor of or in opposition to the recommended
       order….

       (n)   The planning commission shall adopt the recommended order, adopt the
       recommended order with changes, or direct staff to prepare a revised order.

§2-138(m), (n), LDC.




                                           Page 30 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 31 of 44




       (f)     Consideration of the Recommended Order. During its consideration of the
       recommended order at a duly noticed public hearing, the Planning Commission
       will take comment from the parties and the public…

       (g)     Action on the Recommended Order. The Planning Commission shall
       adopt the recommended order, adopt the recommended order with changes, or
       direct staff to prepare a revised order.

By-Laws, Art. IX, §10(f), (g).

               (9)    Both the LDCs and the By-Laws authorize the Planning Commission, in

its discretion, to remand a recommended order to the ALJ for further factual findings:

       (n)    … The planning commission may also remand the recommended order to
       the administrative law judge, if additional findings are necessary.

§2-138(n), LDC.

       (g)    Action on the Recommended Order. … The Planning Commission may
       also remand the recommended order to the administrative law judge if additional
       findings are necessary.

By-Laws, Art. IX, §10(f), (g). However, neither of those sources prescribes any definite time

period within which the ALJ must conduct additional fact-finding or render a revised

Recommended Order.

       B.      None of the procedures provides a mechanism by which an applicant can force an

administrative decision at any point.

       C.      None of the provisions guaranty that speech will occur if the administrative

process, approval or hearing does not occur within the nominal deadlines specified in the LDC

and By-Laws. That is, in those cases where a deadline of some kind is mentioned in the code,

there are no consequences for an intentional or inadvertent failure to act on the part of the

permitting officials. Those choke points include, at a minimum:

               (1)    The initial application cannot move forward until the planning director

determines that the application is complete. While a nominal period of five days is specified in

                                         Page 31 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 32 of 44




the Code, the Codes does not state what happens if the director fails to make a decision within

that time and no mechanism is provided to advance the application in the absence of a

determination. See, §9-155(10)(c) (“Within five days after receipt of an application for site plan

approval, the director shall determine whether the application contains all required information at

the required level of detail.”).

                (2)     There are public notice requirements at every level of the proceedings.

See, e.g., §§9-155(10)(d)-(g), §§2-138(i)(3), (m); Art. IX, §3(e), (f), By-Laws. Because those

notices are mandatory, it appears that proceedings cannot be held of the notice is not given or is

not given in a timely fashion.

                (3)     Administrative review of a preliminary denial by the DRC cannot take

place until such time as the Planning Commission’s attorney determines that the applicant has

standing. 12 While the Code provides that the decision shall be made within five days, the review

cannot move forward if the attorney does not act. See, §2-137. Determination of standing, LDC;

Art. IX, §1(k), By-Laws.

                (4)     The LDCs instruct the ALJ to render his recommended order is due

“within 30 calendar days of the date of the hearing.” §2-138(j), However, that time standard is

illusory for two reasons:

                        (a)        The Code allows the ALJ to continue the hearing from time to time

in his discretion; without a fixed date for ending the administrative hearing, there is no fixed time

when the 30 day clock will begin to run.




12
   The Code states that a record must be compiled before the ALJ can conduct his hearing and
the determination of standing is a mandatory component of the record. See, §2-138(i)(5)a.

                                              Page 32 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 33 of 44




                        (b)    There are no consequences in the event that the ALJ fails to enter

his order within the specified time. In particular, speech may be delayed indefinitely if the ALJ

does not rule in a timely fashion.

                 (5)    There are no time standards within the LDC or the By-Laws which require

the Planning Commission to actually render a decision within any particular period of time.

        91.      Even if the Type B Site Plan applicant follows the specified administrative

procedure exactly, without undue delay at any point, the total time to complete the administrative

process is unreasonably long and is the antithesis of a brief period. In Plaintiffs’ case that process

took nearly a full year (Plaintiffs submitted their application on February 8, 2021 and the

Planning Commission did not enter its Final Order under January 27, 2022).

        92.      The LDC and By-Laws do not allow speech to occur (in this case, the operation of

a religious residential mission) if the CITY, the DRC, the ALJ or the Planning Commission fail

to make a determination within a brief period of time.

        93.      The failure to guarantee a decision within a specified period of time and the

multiple opportunities for continuance and delay allow the Defendant to defer approval of a Type

B Site Plan application indefinitely; speech can be denied during that time simply by taking no

action at all.

        94.      The Ordinance fails to preserve the status quo as required by FW/PBS.

        95.      In the context of this case, Plaintiffs’ religious mission, and their associated

speech rights, can be shut down and censored indefinitely because the CITY has withheld

permission to speak (in the form of Type B Site Plan approval).




                                           Page 33 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 34 of 44




       96.     Because there is no requirement that the CITY, the DRC, the ALJ or the Planning

Commission make a decision on Type B Site Plan application within a specified time, the

Defendant can delay the administrative decision indefinitely, thereby thwarting judicial review.

       97.     Because Florida has a requirement that all administrative remedies be exhausted

before a litigant can seek review in Court, the indefinite period for review and approval

precludes judicial review and makes a prompt judicial disposition impossible in contravention of

the standards adopted in City of Littleton, Colorado v. Z.J. Gifts, D–4., L.L.C., 541 U.S. 774,

124 S.Ct. 2219 (2004).

       98.     Plaintiffs have a right to have this Court declare their rights under the First

Amendment as those rights are restricted and infringed by the ordinances, policies and practices

complained of herein.


       WHEREFORE, Plaintiffs pray for the following relief:

       A.      That this Court take jurisdiction over the parties and this cause.

       B.      That this Court enter a judgment declaring that §10-417 of the Tallahassee Land

Development Code, together with the associated procedures for approval of Transitional

Residential Facilities [§§2-138, 9-155, LDC and Article IX of the Bylaws of The Tallahassee-

Leon County Planning Commission] are unconstitutional on their face and as applied to the

Plaintiffs because they impose a prior restraint without the procedural and substantive

protections required by the First Amendment.

       C.      That this Court enter a judgment declaring that Plaintiffs are free to operate a

religious residential mission at their current location without having to secure zoning approval

from the City of Tallahassee under §10-417, LDC because such discretionary zoning violates the

Free Speech Clause of the First Amendment on its face and as applied to the Plaintiffs.


                                          Page 34 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 35 of 44




       D.      That this Court enter a permanent injunction forever enjoining Defendant and its

various agents and employees, from enforcing §10-417, LDC and the requirement for Type B

Site Plan approval against Plaintiffs and all other similarly situated persons.

       E.     That this Court enter a judgment for compensatory and nominal damages sufficient

to compensate the Plaintiffs for violations of their First Amendment rights.

       F.      That this Court award Plaintiffs their recoverable costs, including a reasonable

attorney’s fee pursuant to 42 U.S.C. §1988; and

       G.      That this Court award Plaintiffs all other relief in law and in equity to which they

may be entitled.

                                             COUNT II
                   THE DEFENDANT’S ORDINANCES AND PROCEDURES
      VIOLATES THE FREE EXERCISE CLAUSE OF THE FIRST AMENDMENT

       99.     Plaintiffs reallege the facts set forth in Paragraphs 1 through 83 and incorporate

those facts into this Count by reference.

       100.    This is an action for declaratory relief and injunctive relief brought by each of the

Plaintiffs against Defendant CITY OF TALLAHASSEE under this Court’s general jurisdiction

and pursuant to 28 U.S.C. §2201 and 42 U.S.C. §1983.

       101.    Plaintiffs are uncertain as to their rights and remedies under the Tallahassee Land

Development Code and the By-Laws as they have been applied to Plaintiffs in violation of the

Free Speech Clause of the First Amendment to the United States Constitution.

       102.    Plaintiffs have a right to Free Exercise of their religious faith through words,

practices and acts.

       103.    In this instance, Plaintiffs express their religious faith through the operation of the

CITY WALK religious mission catering to Tallahassee’s homeless population.

                                            Page 35 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 36 of 44




          104.   Plaintiffs’ faith and their religious observance of Christ’s message is inextricably

linked to the operation of a religious mission catering to the homeless.

          105.   Tallahassee is an appropriate place for the exercise of Plaintiffs’ religious faith

because Plaintiffs reside in the community and because the City of Tallahassee has an enormous

unmet need for the care, housing and counseling of the homeless.

          106.   The CITY WALK facilities are an appropriate location for the exercise of

Plaintiffs’ religious practices for the following reasons:

          A.     It is located on a major U.S. Highway with ready access to mass transit;

          B.     The property and the buildings are sufficiently large to address all of Plaintiffs’

religious practices from their church, to their counseling offices, to the kitchen and dining

facilities, to the residential needs of the City’s homeless.

          C.     The location is isolated from nearby residences by the U.S. Highway (Mahan

Drive) in the front; by a steep ditch and railroad tracks to the rear; and by commercial uses on

either side.

          D.     The property is zoned OR-2 which allows for a wide variety of uses, including a

church.

          E.     The City has already determined that a Transitional Residential Facility may be

located in an OR-2 zone.

          F.     After diligent search with the active assistance of a local Realtor, Plaintiffs

concluded that there are few or no other sites within the City of Tallahassee which provide a

comparable mix of location, facilities, access and economy as the City Walk facility.

          G.     The CITY actively encouraged Plaintiffs to operate a “low barrier” emergency

homeless shelter at this very location during the winter of 2020-21.



                                            Page 36 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 37 of 44




        107.   The City now seeks to prevent Plaintiffs from freely exercising their religious

rights through imposition of code enforcement fines, by requiring Plaintiffs to obtain Type B Site

Plan approval prior to engaging in their religious practices, and by withholding approval of that

site plan.

        108.   Section 10-417, LDC is not a law of general application because it applies only to

those persons wishing to operate a transitional residential facility.

        109.   While not every transitional residential facility is associated with religious

expression, every religious observer seeking to operate a residential mission for the homeless is

treated by the City as a Transitional Residential Facility. 13

        110.   The exercise of Plaintiffs’ religious beliefs and practices have been inordinately

burdened by §10-417, LDC and the associated procedures for approval of a Type B Site Plan.

        111.   §10-417, LDC and the associated procedures for approval of a Type B Site Plan

impose an unconstitutional prior restraint on the Free Exercise of Plaintiffs’ religious rights for

the reasons set forth above.

        112.   There are readily available alternatives to the flat denial of Plaintiffs’ religious

freedoms which are less restrictive of their Free Exercise rights.

        113.   The operational conditions suggested by the ALJ in this matter represent a good-

faith application of neutral zoning principles which would accommodate Plaintiffs’ religious

practices.



13
   A recent study shows that the majority (58%) of the shelter beds provided for the homeless are
furnished by religious institutions. See, Johnson, Byron, Baylor Institute for Studies of Religion,
Assessing the Faith-Based Response to Homelessness in America: Findings from Eleven Cities,
(2017) at 20, accessible at https://socialinnovation.usc.edu/homeless_research/assessing-the-
faith-based-response-to-homelessness-in-america-findings-from-eleven-cities/ (last accessed
2/4/22).

                                            Page 37 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 38 of 44




       114.    Plaintiffs have a right to have this Court declare their rights under the First

Amendment as those rights are restricted and infringed by the Ordinances, policies and practices

complained of herein.


       WHEREFORE, Plaintiffs pray for the following relief:

       A.      That this Court take jurisdiction over the parties and this cause.

       B.      That this Court enter a judgment declaring that §10-417 of the Tallahassee Land

Development Code, together with the associated procedures for approval of Transitional

Residential Facilities [§§2-138, 9-155, LDC and Article IX of the Bylaws of The Tallahassee-

Leon County Planning Commission] are unconstitutional on their face and as applied to the

Plaintiffs because they impose unduly burden the Free Exercise of their religious faith in

violation of the First Amendment.

       C.      That this Court enter a judgment declaring that Plaintiffs are free to operate a

religious residential mission at their current location without having to secure zoning approval

from the City of Tallahassee under §10-417, LDC because such discretionary zoning violates the

Free Exercise Clause of the First Amendment on its face and as applied to the Plaintiffs.

       D.      That this Court enter a permanent injunction forever enjoining Defendant and its

various agents and employees, from enforcing §10-417, LDC and the requirement for Type B

Site Plan approval against Plaintiffs and all other similarly situated persons.

       E.     That this Court enter a judgment for compensatory and nominal damages sufficient

to compensate the Plaintiffs for violations of their First Amendment rights.

       F.      That this Court award Plaintiffs their recoverable costs, including a reasonable

attorney’s fee pursuant to 42 U.S.C. §1988; and




                                           Page 38 of 44
       Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 39 of 44




        G.      That this Court award Plaintiffs all other relief in law and in equity to which they

may be entitled.


                                             COUNT III
   THE DEFENDANT’S ORDINANCES AND PROCEDURES INFRINGE UPON THE
                   FIRST AMENDMENT RIGHT OF FREE ASSOCIATION

        115.    Plaintiffs reallege the facts set forth in Paragraphs 1 through 83 and incorporate

those facts into this Count by reference.

        116.    This is an action for declaratory relief and injunctive relief brought by each of the

Plaintiffs against Defendant CITY OF TALLAHASSEE under this Court’s general jurisdiction

and pursuant to 28 U.S.C. §2201 and 42 U.S.C. §1983.

        117.    Plaintiffs are uncertain as to their rights and remedies under the Tallahassee Land

Development Code and the By-Laws as they have been applied to Plaintiffs in violation of the

Free Speech Clause of the First Amendment to the United States Constitution.

        118.    Plaintiffs religious beliefs and practices command them to enjoy the fellowship of

their less fortunate neighbors.

        119.    In order to communicate their religious beliefs and to cater to the physical and

spiritual needs of the homeless, Plaintiffs must have a physical space where they can gather their

congregation and those who are served by the City Walk Mission.

        120.    That is to say, Plaintiffs’ speech and religious rights have little meaning unless

they can gather and associate with others of like mind as well as with the population to be

benefited by Plaintiffs’ faith activities.

        121.    Because Type B Site Plan approval is required wherever a Transitional

Residential Facility may operate, there is no location in the City of Tallahassee where Plaintiffs



                                             Page 39 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 40 of 44




can meet with their congregation and their service community without first obtaining the City’s

discretionary approval.

       122.    The CITY has employed §10-417 and the associated procedural rules, policies

and practices to fine CITY WALK for operating its religious mission and freely associating with

the City’s homeless population.

       123.    The CITY has employed §10-417 and the associated procedural rules, policies

and practices to prohibit Plaintiffs from operating their religious mission and associating with the

City’s homeless population.

       124.    Plaintiffs’ efforts to freely associate with others of like mind, as well as with the

population to be benefited by Plaintiffs’ faith activities, have been inordinately burdened by §10-

417, LDC and the associated procedures for approval of a Type B Site Plan.

       125.    There are readily available alternatives to the flat denial of Plaintiffs’ religious

and speech activities which are less restrictive of their Free Association rights.

       126.    The operational conditions suggested by the ALJ in this matter represent a good-

faith application of neutral zoning principles which would accommodate Plaintiffs’ right to

associate while protecting the government’s interests in safe and clean neighborhoods.

       127.    Plaintiffs have a right to have this Court declare their rights under the First

Amendment as those rights are restricted and infringed by the Ordinances, policies and practices

complained of herein.


       WHEREFORE, Plaintiffs pray for the following relief:

       A.      That this Court take jurisdiction over the parties and this cause.

       B.      That this Court enter a judgment declaring that §10-417 of the Tallahassee Land

Development Code, together with the associated procedures for approval of Transitional


                                           Page 40 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 41 of 44




Residential Facilities [§§2-138, 9-155, LDC and Article IX of the Bylaws of The Tallahassee-

Leon County Planning Commission] are unconstitutional on their face and as applied to the

Plaintiffs because they infringe upon Plaintiffs’ First Amendment right of Free Association.

       C.      That this Court enter a judgment declaring that Plaintiffs are free to operate a

religious residential mission at their current location without having to secure zoning approval

from the City of Tallahassee under §10-417, LDC because such discretionary zoning unduly

infringes upon Plaintiffs’ First Amendment right of Free Association.

       D.      That this Court enter a permanent injunction forever enjoining Defendant and its

various agents and employees, from enforcing §10-417, LDC and the requirement for Type B

Site Plan approval against Plaintiffs and all other similarly situated persons.

       E.     That this Court enter a judgment for compensatory and nominal damages sufficient

to compensate the Plaintiffs for violations of their First Amendment rights.

       F.      That this Court award Plaintiffs their recoverable costs, including a reasonable

attorney’s fee pursuant to 42 U.S.C. §1988; and

       G.      That this Court award Plaintiffs all other relief in law and in equity to which they

may be entitled.

                                            COUNT IV
  SECTION 10-417 VIOLATES THE FIRST AMENDMENT BECAUSE IT PROVIDES
            INSUFFICIENT ALTERNATIVE AVENUES OF COMMUNICATION

       128.    Plaintiffs reallege the facts set forth in Paragraphs 1 through 83 and incorporate

those facts into this Count by reference.

       129.    This is an action for declaratory relief and injunctive relief brought by each of the

Plaintiffs against Defendant CITY OF TALLAHASSEE under this Court’s general jurisdiction

and pursuant to 28 U.S.C. §2201 and 42 U.S.C. §1983.

                                            Page 41 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 42 of 44




       130.      Plaintiffs are uncertain as to their rights and remedies under the Tallahassee Land

Development Code and the By-Laws as they have been applied to Plaintiffs in violation of the

First Amendment to the United States Constitution.

       131.      The CITY is obligated to provide sufficient locations where a religious mission,

like CITY WALK, which caters to the homeless population can open and operate.

       132.      The City’s Zoning Code restricts the location of Transitional Residential Facilities

in three ways:

       A.        They are not permitted in all zoning districts (being prohibited in any industrial

zoning);

       B.        They are subject to discretionary zoning approval under §10-417;

       C.        There are a host of subjective criteria under §10-417 which effectively limit

Transitional Residential Facilities only to those locations which City Staff believe will not affect

any residential and commercial properties within a half mile of the Facility.

       133.      In addition to the subjective criteria applied by potentially hostile City staff, two

features of §10-417 make it especially difficult to find locations within the City:

       A.        Transitional Residential Facilities must be located in proximity to mass

transportation [§10-147(f)(4)];

       B.        Transitional Residential Facilities cannot change the “character” of residential

districts within 500 feet [§10-147(f)(7)].

       Because mass transport is invariably sited in proximity to residential districts, the zoning

code creates an unavoidable Catch-22 for Transitional Residential Facilities; the need to be near

bus stops inevitably brings them into conflict with residential neighbors.




                                             Page 42 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 43 of 44




        134.    The CITY has employed the requirement for discretionary approval of

Transitional Residential Facilities as the basis to fine CITY WALK and has threatened to close

the mission and terminate Plaintiffs’ speech and religious rights.

        135.    Given the requirement for Type B Site Plan approval under §10-417, there are no

sites available for Transitional Residential Facilities as of right.

        136.    Section 10-417 and the accompanying procedures impose a prior restraint on

speech because government permission in the form of a Type B Site Plan is required before

speech can occur.

        137.    Because the Type B Site Plan process is discretionary, and therefore

unconstitutional, sites subject to that requirement do not “count” for purposes of determining the

number of available sites for Transitional Residential Facilities.

        138.    Given the restrictions of the Zoning Code and the subjective application of the

§10-417 there are no sites - or a constitutionally inadequate number of sites - available for

Transitional Residential Facilities anywhere with the City of Tallahassee.

        139.    Failure to provide sufficient locations where First Amendment-protected

charitable enterprises may open and operate as a matter of right renders a zoning code facially

unconstitutional and unconstitutional as applied to these Plaintiffs.


        WHEREFORE, Plaintiffs pray for the following relief:

        A.      That this Court take jurisdiction over the parties and this cause.

        B.      That this Court enter a judgment declaring that §10-417 of the Tallahassee Land

Development Code, together with the associated procedures for approval of Transitional

Residential Facilities [§§2-138, 9-155, LDC and Article IX of the Bylaws of The Tallahassee-




                                            Page 43 of 44
      Case 4:22-cv-00061-AW-MAF Document 1 Filed 02/07/22 Page 44 of 44




Leon County Planning Commission] are unconstitutional on their face and as applied to the

Plaintiffs because they fail to provide alternative avenues of communication.

       C.      That this Court enter a judgment declaring that Plaintiffs are free to operate a

religious residential mission at their current location without having to secure zoning approval

from the City of Tallahassee under §10-417, LDC because such discretionary zoning violates the

First Amendment on its face and as applied to the Plaintiffs.

       D.      That this Court enter a permanent injunction forever enjoining Defendant and its

various agents and employees, from enforcing §10-417, LDC and the requirement for Type B

Site Plan approval against Plaintiffs and all other similarly situated persons.

       E.    That this Court enter a judgment for compensatory and nominal damages sufficient

to compensate the Plaintiffs for violations of their First Amendment rights.

       F.      That this Court award Plaintiffs their recoverable costs, including a reasonable

attorney’s fee pursuant to 42 U.S.C. §1988; and

       G.      That this Court award Plaintiffs all other relief in law and in equity to which they

may be entitled.


                                                    Respectfully Submitted,

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                                           Page 44 of 44
